                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:18-CV-00106-RJC-DSC


 MALCOLM WIENER,                                  )
                                                  )
                   Plaintiff,                     )
                                                  )
 v.                                               )
                                                  )                ORDER
 AXA EQUITABLE LIFE INSURANCE                     )
 COMPANY,                                         )
                                                  )
                  Defendant.                      )



       THIS MATTER is before the Court on “Motion for Admission Pro Hac Vice and

Affidavit [for David G. Webbert]” (document # 147) filed March 17, 2021. For the reasons set

forth therein, the Motion will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Robert J. Conrad, Jr..


       SO ORDERED.
                                       Signed: March 22, 2021




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